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          UNITED STATES DISTRICT COURT
          SOUTHERN DISTRICT OF NEW YORK
          -----------------------------------------------------------X
          MARK CRUZ,

                                      Plaintiff,                                Civil Action No.:
                                                                                1: 18-cv-03003-AKH

                   - against -

          COMMISSIONER OF SOCIAL SECURITY,

                                      Defendant.                                ORDER

          -----------------------------------------------------------X

                   The Court, having read the memorandum and affirmation of Charles E. Binder, attorney for

          Plaintiff in the above entitled case, requesting an award of attorney's fees in accordance with 42

          U.S .C. § 406(6), and upon all the supporting documents annexed thereto,

                   IT IS ORDERED that attorney's fees in the amount of $7,368.25, which represents 25% of

          the past due benefits awarded to Plaintiff, be paid to Charles E. Binder, petitioner. Upon receipt of

          this sum, counsel for Plaintiff is directed to remit the previously awarded Equal Access to Justice

          Act fees in the amount of $2,900.54 to Plaintiff.




          DATED        I\/✓'LO ')__O
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                                                                 Alvin K. Hellerstein
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              cJa~ EcA= A/0. ~~.                                 United States District Judge
